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12
13                       IN THE UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  SOUTHERN DIVISION
15
16     AMIR KAVEHRAD, DEREK                            Case No. 8:21-cv-01868 JLS (DFMx)
       WILLIAMS, and NIKITA
17
       BOGOLYUBOV on behalf of themselves              PLAINTIFFS’ SECOND AMENDED
18     and all others similarly situated,              CLASS ACTION COMPLAINT
19
                      Plaintiffs,                      DEMAND FOR JURY TRIAL
20
21     v.

22     VIZIO INC. and VIZIO HOLDING                    JUDGE: Hon. Josephine L. Staton
23     CORP.                                           CTRM: 10A

24                   Defendants.
25
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27
28

                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1               Plaintiffs Amir Kavehrad, Derek Williams, and Nikita Bogolyubov (“Plaintiffs”),
 2         individually and on behalf of all others similarly situated, file this Second Amended
 3         Class Action Complaint against Defendants VIZIO Inc. and VIZIO Holding Corp.
 4         (collectively, “VIZIO” or “Defendants”), and allege the following based on personal
 5         knowledge as to their own conduct, and upon information and belief as to all other
 6         matters.
 7                                  SUMMARY OF THE ACTION
 8                    This is a consumer protection class action on behalf of individuals who
 9     purchased the following flat-screen models of VIZIO OLED, LED 4K UHD and P-Series
10     televisions: OLED65-H1; OLED55-H1; P65Q9-H1; P65Q9-J01; P75Q9-J01; P75Q9-H1,
11     P65QX-H1; P75QX-H1; and P85QX-H1 (collectively, “Class Televisions”).
12                    While VIZIO markets the Class Televisions as top-of-the-line televisions
13     with “the best proven technolog[y] to deliver exceptional performance” that “should work
14     with you and your home” which “[g]ets [b]etter [o]ver [t]ime”1 the Class Televisions are
15     defective. The Class Televisions suffer from repeated and unexpected power-related
16     failures which prevent them from working reliably. In particular, the Class Televisions
17     will power off repeatedly while in use, or fail to power back on after being left off for
18     some time (collectively, the “Power Defect”). When the Class Televisions unexpectedly
19     power off, the consumer often must do a hard reset – get up, unplug and replug the
20     television back in, rather than simply pressing the power button on the remote control.
21     Sometimes, even the hard reset fails to power the televisions back on.
22                    VIZIO controlled the design, manufacture, testing, marketing, and sale of
23     the Class Televisions (directly and indirectly through third parties), which sold at price
24     points generally ranging from $1,299 to $2,999. VIZIO knew the Class Televisions were
25     defective at or before the time of release through pre-release testing and complaints from
26
27
       1
         See https://web.archive.org/web/20200805051629/https://www.vizio.com/en/tv/oled;
       https://web.archive.org/web/20210107101632/https://www.vizio.com/en/tv/p-series
28     (last visited Aug. 25, 2022).
                                                  -1-
                              SECOND AMENDED CLASS ACTION COMPLAINT
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 1     consumers shortly after launch. Despite knowing that the Class Televisions were prone
 2     to failure, VIZIO failed to disclose to consumers that the Class Televisions are defective.
 3     Although the Class Televisions came with a one-year written warranty covering defects,
 4     VIZIO routinely refuses to honor its warranty obligations. When consumers contact
 5     VIZIO about the Power Defect, VIZIO’s response varies significantly, but is always
 6     ineffective. Sometimes VIZIO support walks customers through troubleshooting steps
 7     which do not help. When VIZIO does offer a repair it does not actually fix the Power
 8     Defect. Often, instead attempting to fix the reported problems, VIZIO would punt any
 9     warranty repairs, and instead promised a “firmware update” that took almost a year to roll
10     out and likewise did not remedy the Power Defect.
11                   The Power Defect is substantially certain to manifest—countless consumers
12     have reported power failures with their Class Televisions, many of them very soon after
13     purchase. Some consumers report that the Class Televisions exhibited power failures right
14     out of the box, with their Class Televisions turning on and off during installation for
15     seemingly no reason. Several owners report that the Class Televisions would fail to power
16     on altogether. Consumers further report that communications with VIZIO’s technical
17     support were unsuccessful, as even VIZIO’s own trained technicians could not solve the
18     power failure problems, leading some consumers to have to return or replace their Class
19     Televisions. To date, almost two years after the launch, the Power Defect remains unfixed.
20     Plaintiffs have consequently been deprived of the benefit of their bargain.
21                   The Power Defect existed in each of the Class Televisions at the time they
22     were sold. As a result of VIZIO’s unfair, deceptive, and/or fraudulent business practices,
23     owners of Class Televisions, including Plaintiffs, have suffered an ascertainable loss,
24     injury in fact, and otherwise have been harmed by VIZIO’s conduct. Plaintiffs and class
25     members were thus deprived of the benefit of their bargain, and Plaintiffs bring this action
26     to obtain relief for himself and others who purchased Class Televisions. Plaintiffs seek
27     monetary and other appropriate relief for damages suffered, declaratory relief, and public
28     injunctive relief.
                                                  -2-
                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1                    VIZIO’s deceptive marketing and the sale of the Class Televisions with the
 2     undisclosed Power Defect continue to this day. On behalf of the general public of
 3     California, Plaintiffs Williams and Bogolyubov also seek declaratory and public
 4     injunctive relief against VIZIO to, inter alia, provide restitution, and enjoin it from
 5     continuing to deceptively advertise and sell its Class Televisions without disclosing the
 6     presence of the Power Defect.
 7                                               PARTIES
 8                    Plaintiff Amir Kavehrad is an adult individual and a citizen and resident of
 9     Pottstown, Pennsylvania.
10                    Plaintiff Derek Williams is an adult individual and a citizen and resident of
11     Whittier, California.
12                    Plaintiff Nikita Bogolyubov is an adult individual and a citizen and resident
13     of North Hollywood, California.
14                    Defendant VIZIO Inc. is incorporated under California law and maintains its
15     principal place of business at 39 Tesla, Irvine, California 92618, located in Orange
16     County, California.
17                    Defendant VIZIO Holding Corp. was founded in 2002 and is headquartered
18     at 39 Tesla, Irvine, California 92618 located in Orange County, California. The company,
19     through its subsidiaries, provides smart televisions, sound bars, and accessories in the
20     United States.
21                    Vizio Holdings Company is a publicly traded company and it is believed to
22     be the parent company of Vizio, Inc.
23                    VIZIO itself does not distinguish between the two entities. On its website, it
24     says on some pages that Vizio, Inc. owns all of the trademarks, copyrights, designs, and
25     intellectual property. Other pages refer to Vizio Holdings Company. VIZIO’s warranty
26     refers only to VIZIO and does not distinguish with which entity consumers are
27     contracting.
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                                                   -3-
                               SECOND AMENDED CLASS ACTION COMPLAINT
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 1                   Upon information and belief, to the extent they are different companies, both
 2     VIZIO Defendants were involved in the design, testing, manufacture, marketing, and sale
 3     of Class Televisions.
 4                   At all relevant times, each VIZIO Defendant acted in all aspects as the agent
 5     and alter ego of one another, and reference to “VIZIO” refers to each VIZIO Defendant
 6     individually and collectively.
 7                                 JURISDICTION AND VENUE
 8                   This Court has subject matter jurisdiction over this action pursuant to 28
 9     U.S.C. § 1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more
10     class members, (ii) there is an aggregate amount in controversy exceeding $5,000,000,
11     exclusive of interest and costs, and (iii) there is minimal diversity because at least one
12     plaintiff and the defendant are citizens of different states. This Court also has
13     supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.
14                   Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1391
15     because VIZIO is headquartered within this judicial district, transacts business in this
16     district, and is subject to personal jurisdiction in this district. Additionally, VIZIO has
17     advertised in this district and has received substantial revenue and profits from its sales
18     of its products, including the Class Televisions, in this district. Therefore, a substantial
19     part of the events and/or omissions giving rise to the claims herein occurred, in part,
20     within this district.
21                   This Court has personal jurisdiction over VIZIO because VIZIO maintains
22     its headquarters within this judicial district has conducted substantial business in this
23     judicial district, and intentionally and purposefully placed its products into the stream of
24     commerce within the state of California and throughout the United States.
25                             PLAINTIFF-SPECIFIC ALLEGATIONS
26     Plaintiff Amir Kavehrad
27                   On or about June 22, 2021, Plaintiff Kavehrad purchased a VIZIO OLED
28     television (model no. OLED65-H1) for approximately $1,499.99 from Best Buy.
                                                  -4-
                               SECOND AMENDED CLASS ACTION COMPLAINT
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 1                  Before purchasing his VIZIO OLED, Mr. Kavehrad saw advertisements and
 2     marketing materials from VIZIO about Class Televisions. Immediately upon receiving
 3     this television, but before using it, Mr. Kavehrad viewed the VIZIO OLED’s packaging
 4     and went through the television initial setup process, in which VIZIO provided him with
 5     more information about the television.
 6                  On July 7, 2021, Plaintiff Kavehrad sent an opt-out letter to VIZIO pursuant
 7     to the provisions of its arbitration opt-out procedure outlined in its terms and conditions.
 8     His correspondence advised Vizio that he was electing to opt-out of VIZIO’s arbitration
 9     clause.
10                  Within the first week of owning the VIZIO OLED, it began to fail. The
11     television began powering-off repeatedly and without warning. When the VIZIO OLED
12     would unexpectedly power-off, it would fail to power-on after being powered-off for
13     some time.
14                  Plaintiff Kavehrad downloaded the firmware update but it did not fix the
15     Power Defect.
16                  Plaintiff Kavehrad continues to experience power issues impacting the
17     functionality of his VIZIO OLED. Had he been made aware of the existence of the Power
18     Defect, he would not have purchased the VIZIO OLED or would have paid significantly
19     less for it. Plaintiff and Class Members relied on VIZIO’s representations that the Class
20     Televisions functioned as they were intended to, with a properly working power feature.
21     As a result of VIZIO’s conduct, Mr. Kavehrad has been injured.
22                  If the televisions function as advertised, Plaintiff Kavehrad would purchase
23     one or more additional VIZIO televisions in the future. However, Plaintiff Kavehrad
24     cannot rely on the validity of the information advertised due to VIZIO’s omission of the
25     existence of the Power Defect. Absent injunctive relief in a way that ensures that this
26     material information is fully and accurately disclosed, Plaintiff Kavehrad faces the similar
27     injury of being unable to rely on VIZIO’s representations in its product advertising and
28     labeling in deciding whether or not he should purchase the product in the future.
                                                  -5-
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 1     Plaintiff Derek Williams
 2                  On or about January 26, 2021, Plaintiff Williams purchased a VIZIO QLED
 3     television (model no. P75QX-H1) for approximately $1,599.99 from Best Buy.
 4                  Before purchasing his VIZIO QLED, Mr. Williams saw advertisements and
 5     marketing materials from VIZIO about Class Televisions. Immediately upon receiving
 6     this television, but before using it, Mr. Williams viewed the VIZIO QLED’s packaging
 7     and went through the television initial setup process, in which VIZIO provided him with
 8     more information about the television.
 9                  Within the first two weeks of owning the VIZIO QLED, it began to fail.
10     The television began powering-off repeatedly. When the VIZIO QLED would
11     unexpectedly power-off, it would fail to power-on after being powered-off for some time.
12                  On February 23, 2021, he reached out to Vizio customer service about the
13     issues his TV was having only to be advised to go through a number of troubleshooting
14     steps that failed to correct the problem. The representative set-up an appointment to have
15     a technician diagnose the issue. The technician initially replaced the TV’s power board
16     believing that was the cause of the issue.
17                  However, the power-related issues only worsened following the repair, so
18     the technician ended up reinstalling the original power board. Vizio further advised him
19     that the problems his TV would experience would be fixed with an upcoming firmware
20     release.
21                  After the firmware update finally became available, Plaintiff Williams
22     installed the update in or around October 2021. The firmware update, however, failed to
23     remedy the Power Defect in Plaintiff Williams’ VIZIO OLED.
24                  At the time he purchased his VIZIO OLED, Plaintiff Williams was not aware
25     of, and VIZIO did not disclose anywhere on its product packaging or elsewhere, that the
26     Class Televisions are plagued with the Power Defect.
27                  Plaintiff Williams continues to experience power issues impacting the
28     functionality of his VIZIO OLED. Had he been made aware of the existence of the Power
                                                    -6-
                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1     Defect, he would not have purchased the VIZIO OLED or would have paid significantly
 2     less for it. Plaintiff and Class Members relied on VIZIO’s representations that the Class
 3     Televisions functioned as they were intended to, with a properly working power feature.
 4     As a result of VIZIO’s conduct, Mr. Williams has been injured.
 5                  If the televisions function as advertised, Plaintiff Williams would purchase
 6     one or more additional VIZIO televisions in the future. However, Plaintiff Williams
 7     cannot rely on the validity of the information advertised due to VIZIO’s omission of the
 8     existence of the Power Defect. Absent injunctive relief in a way that ensures that this
 9     material information is fully and accurately disclosed, Plaintiff Williams faces the similar
10     injury of being unable to rely on VIZIO’s representations in its product advertising and
11     labeling in deciding whether or not he should purchase the product in the future.
12                  Plaintiff Williams initially filed an arbitration on October 11, 2021, with the
13     American Arbitration Association (“AAA”) pursuant to VIZIO’s arbitration clause. In a
14     letter dated November 23, 2021, however, the AAA declined to adjudicate the case, citing
15     VIZIO’s failure to comply with the AAA’s Consumer Due Process Protocol and VIZIO’s
16     failure to register the arbitration clause with the AAA. The letter indicated that Plaintiff
17     may submit the dispute to the appropriate court and further stated that the AAA “must
18     decline to administer this claim and any other claims between Vizio, Inc. and its
19     consumers at this time.”
20     Plaintiff Nikita Bogolyubov
21                  On or about November 22, 2020, Plaintiff Bogolyubov purchased a VIZIO
22     OLED television (model no. OLED55-H1) for approximately $991.49 from Best Buy.
23                  Before purchasing his VIZIO OLED, Mr. Bogolyubov saw advertisements
24     and marketing materials from VIZIO about Class Televisions. Immediately upon
25     receiving this television, but before using it, Mr. Bogolyubov viewed the VIZIO OLED’s
26     packaging and went through the television initial setup process, in which VIZIO provided
27     him with more information about the television.
28
                                                  -7-
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 1                  Within the first three weeks of owning the VIZIO OLED, it began to fail.
 2     The television began powering-off repeatedly. When the VIZIO OLED would
 3     unexpectedly power-off, it would fail to power-on after being powered-off for some time.
 4                  On January 28, 2021, he reached out to VIZIO customer service about the
 5     issues his TV was having only to be advised to go through a number of troubleshooting
 6     steps that failed to correct the problem. For a number of months, Plaintiff went back-and-
 7     forth with Vizio’s customer service to troubleshoot a solution to the issue. At one point,
 8     VIZIO support indicated that sending a technician would be fruitless to fix the problem
 9     and suggested Plaintiff Bogolyubov pay $250 in shipping costs for a new television.
10     Because these shipping costs represented almost a third of the cost of the television that
11     never worked correctly, Plaintiff Bogolyubov declined this suggestion. Vizio ultimately
12     advised Plaintiff Bogolyubov that the problem would be fixed by a future firmware
13     update.
14                  After the firmware update finally became available, Plaintiff Bogolyubov
15     installed the update on October 27, 2021. This long awaited firmware updated, however,
16     did not remedy the defect and Plaintiff Bogolyubov continues to experience manifestation
17     of the Power Defect.
18                  At the time he purchased his VIZIO OLED, Plaintiff was not aware of, and
19     VIZIO did not disclose anywhere on its product packaging or elsewhere, that the Class
20     Televisions are plagued with the Power Defect.
21                  Plaintiff Bogolyubov continues to experience power related issues impacting
22     the functionality of his VIZIO OLED. Had he been made aware of the existence of the
23     Power Defect, he would not have purchased the VIZIO OLED or would have paid
24     significantly less for it. Plaintiff and Class Members relied on VIZIO’s representations
25     that the Class Televisions functioned as they were intended to, with a properly working
26     power feature. As a result of VIZIO’s conduct, Mr. Bogolyubov has been injured.
27                  If the televisions function as advertised, Plaintiff Bogolyubov would
28     purchase one or more additional VIZIO televisions in the future. However, Plaintiff
                                                 -8-
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 1   Bogolyubov cannot rely on the validity of the information advertised due to VIZIO’s
 2   omission of the existence of the Power Defect. Absent injunctive relief in a way that
 3   ensures that this material information is fully and accurately disclosed, Plaintiff
 4   Bogolyubov faces the similar injury of being unable to rely on VIZIO’s representations
 5   in its product advertising and labeling in deciding whether or not he should purchase the
 6   product in the future.
 7                Plaintiff Bogolyubov initially filed an arbitration with the AAA in August
 8   2021. In a letter dated November 11, 2021, the AAA declined to adjudicate the case, citing
 9   VIZIO’s failure to pay the required fees. The letter indicated that Plaintiff may submit the
10   dispute to the appropriate court and further stated “[w]e request that Vizio Inc. remove
11   the AAA name from its consumer arbitration clause so that there is no confusion to the
12   public regarding our decision.”
13                            COMMON FACTUAL ALLEGATIONS
14                            Television Ownership in the United States
15                The two prominent types of displays that can be found across monitors,
16   televisions, mobile phones, cameras and other devices with screens are LED (light-
17   emitting diode), OLED (organic light-emitting diode) and QLED (quantum dot LED).
18   LED is the most common type of display on the market. OLED and QLED are newer
19   “luxury options” used in “flagship” phones and “high-end” televisions models.2
20                LED screens use a backlight to illuminate their pixels, while OLED’s pixels
21   produce their own light. A pixel is a small element on a screen that can be accessed by a
22   device such as a touch screen or monitor. This area can change color and also show
23   movement by combining a group of pixels and having the motion move from one pixel
24   to another. LED screens are generally brighter than OLED, whereas contrast on an OLED
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     2
      See Monney, Kob, OLED vs LED LCD: the best display tech for you, Trusted Reviews
     (July 6, 2021), available: https://www.trustedreviews.com/opinion/oled-vs-led-lcd-
28   2924602.
                                                -9-
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 1   display is far higher.3 QLED televisions use quantum dots that are illuminated by the LED
 2   backlight that travels through the liquid crystal layers to create a picture.4 The vast
 3   majority of Americans own a television of some kind. According to estimates, there are
 4   121 million televisions in homes in the United States for the 2020-2021 television season.5
 5                The COVID-19 pandemic also has reportedly boosted television viewing.
 6   According to VIZIO, viewing on VIZIO smart televisions surged to 1.1 trillion minutes
 7   in 2020, up more than 20% from 2019 due to the coronavirus pandemic. VIZIO is the
 8   number two maker of smart televisions sold in the United States, with about 20% of the
 9   market over the past five years.6 It identifies itself as “the #1 American-based TV brand.”7
10                VIZIO sells over 7 million televisions a year and generates close to $2 billion
11   in revenue from those devices. It reportedly earns well over 90% of its revenue from
12   television sales.8
13
14
15
16
17   3
       See id.
     4
18      https://www.pcmag.com/news/oled-vs-qled-whats-the-difference (last visited August
     25, 2022).
19   5
       See https://www.statista.com/statistics/243789/number-of-tv-households-in-the-us/.
20   6
       See Hayes, Dade, Viewing Leaps 20% to 1.1 Trillion Minutes in @020, Smart TV Maker
     VIZIO Says; Sports, News, Familiar Shows Dominate, Deadline (Jan. 4, 2021), available:
21
     https://deadline.com/2021/01/tv-viewing-leaps-1-trillion-minutes-2020-covid-19-
22   VIZIO-chicago-pd-1234664670/.
     7
        VIZIO Debuts Unprecedented Home Theater Experience with Masterful OLED Tv
23
     Collection and Elevate Sound Bar with Dolby Atmos and DTS:X, PR Newswire (June 30,
24   2020),         available:     https://www.prnewswire.com/news-releases/vizio-debuts-
     unprecedented-home-theater-experience-with-masterful-oled-tv-collection-and-elevate-
25
     sound-bar-with-dolby-atmos-and-dtsx-301085271.html.
26   8
       See Levy, Ari, VIZIO is best known for bargain TVs, but wants IPO investors to focus
27   on its high-growth ads business instead, CNBC (Mar. 20, 2021), available:
     https://www.cnbc.com/2021/03/20/VIZIO-ipo-tv-company-focusing-on-ads-over-
28   devices.html.
                                                - 10 -
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 1                 VIZIO Markets and Launches its LED and OLED Television
                         Touting Their Superior Display Capabilities
 2
 3                  VIZIO was founded in Los Angeles nineteen years ago. It first introduced its
 4   line of LED Backlit LCD televisions in 2010.
 5                  VIZIO released its P-Series televisions—its first consumer-grade 4K
 6   television—in 2014. It released its P-Series Quantum 4K LED televisions in 2020.
 7                  VIZIO launched its first OLED televisions in late 2020. Its first OLED TV
 8   models were available in 55- and 65-inch sizes and offer 4K gaming with variable refresh
 9   rates up to 120Hz, which is an attractive feature to shoppers who want to use the television
10   for gaming purposes. Its first 4K OLED televisions were on sale starting at $1,200. Today,
11   the price for a VIZIO 55-inch OLED television is $1,299.99 and the price for a 65-inch
12   OLED model is $1,899.99.
13                  VIZIO controls the design, development, marketing, sales, and support for
14   the Class Televisions. VIZIO directed virtually every aspect of the development and
15   manufacture of the Class Televisions.
16                  VIZIO sells the Class Televisions to consumers through authorized retailers,
17   such as Amazon, Costco, Target, Sam’s Club, Walmart and Best Buy.9
18                  VIZIO provides a limited warranty for all “Smart Products” including all
19   “internet-connected      ‘smart’   VIZIO      products,     including   related   software,
20   hardware/equipment, documents and content.”10 Under the express terms of its limited
21   warranty, “VIZIO warrants the product against defects in materials and workmanship
22   when the product is used normally in accordance with VIZIO’S user guides and
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24
25
26
27   9
         https://www.vizio.com/en/official-retailers.
28   10
          See https://www.vizio.com/en/terms/terms-of-service.
                                                - 11 -
                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1   manuals.”11 VIZIO warrants products on these terms for one year from the date of original
 2   purchase.12
 3                 VIZIO markets its P-Series QLED televisions as a top-of-the-line television
 4   with “out of this world picture quality,” “explosive brightness” and a “lightning-fast IQ
 5   Ultra processor [that] delivers superior 4K image quality for a powerfully transportive
 6   viewing experience.”13
 7                 VIZIO advertises its OLED televisions as having “the perfect picture” and
 8   “refined attention to every detail.” It touts the OLED as having “unparalleled power” with
 9   its “IQ Ultra processor” which “delivers the fastest, smartest, best-in-class picture
10   processing with a powerful 4K upscaling engine, and HDMI 2.1 connectivity for
11   unrivaled responsiveness.”14
12                 In its June 2020 press release announcing the release of its OLED televisions,
13   VIZIO said the OLEDs were “[b]uilt for the consumer who demands nothing less than
14   the best.” Bill Baxter, Chief Technology Officer of VIZIO further stated that, “[a]t VIZIO,
15   we constantly strive to raise the bar for picture and sound quality, delivering complete
16   entertainment as no other manufacturer can.” The debut of the first OLED television and
17   “its leading-edge picture processing,” said Baxter, “mak[es] good on that commitment to
18   consumers.”15
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     11
        See http://cdn.vizio.com/misc/KBImages/models/OLED2020/2021_OLED55-
21
     H1_OLED65-H1-UM-ENG.pdf; http://cdn.vizio.com/user-manual/PDF/2020/TV/P9-
22   Series_P65Q9-H1_P65Q9-H61_P75Q9-H1_P75Q9-H61-UM-ENG.pdf; User Manual:
     P65QX-H1, P75QX-H1, P85QX-H1 ENG (vizio.com).
23   12
        See id.
24   13
        See https://www.vizio.com/en/tv/p-series.
     14
        See https://www.vizio.com/en/tv/oled.
25   15
         VIZIO Debuts Unprecedented Home Theater Experience with Masterful OLED Tv
26   Collection and Elevate Sound Bar with Dolby Atmos and DTS:X, PR Newswire (June 30,
27   2020),         available:      https://www.prnewswire.com/news-releases/vizio-debuts-
     unprecedented-home-theater-experience-with-masterful-oled-tv-collection-and-elevate-
28   sound-bar-with-dolby-atmos-and-dtsx-301085271.html.
                                                - 12 -
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 1                After purchasing their Class Televisions, Plaintiffs undertook VIZIO’s
 2   standard setup process on his television in accordance with the user manual. The user
 3   manual also explains the seemingly basic function of pressing the power button to turn
 4   the television on, and pressing and holding the power button to turn the television off.
 5   The manual further provided that a user’s television “should be installed and the power
 6   cord should be connected to an electrical outlet” before beginning the first-time setup.
 7   The on-screen instructions that appeared once the television was power-on and connected
 8   to the internet walked the user step-by-step through customizing the television by (1)
 9   choosing a language, (2) choosing a preferred use, (3) choosing a country, (4) choosing a
10   Wi-Fi network and entering the password; (5) naming the TV; (6) scanning for channels;
11   (7) accepting VIZIO’s Terms & Conditions, and (8) viewing and accepting VIZIO’s
12   Viewing Data Policy. At no place in the User Manual or during this on-screen set-up
13   process did VIZIO disclose any defect associated with the television repeatedly powering
14   off without user input and/or failing to power back on.16
15                Prior to using their Class Televisions, Plaintiffs encountered VIZIO’s
16   external packaging of the Class Televisions. At no time did the external packaging
17   disclose any defect associated with the power features of the Class Televisions.
18                Plaintiffs were exposed to advertisements and marketing materials from
19   VIZIO prior to and immediately after purchase. At no time did VIZIO disclose the Power
20   Defect to Plaintiffs by including in its marketing or advertising materials that the Class
21   Televisions are prone to power failures. VIZIO failed to disclose the Power Defect to
22   Plaintiffs despite being aware of the Power Defect through pre-release testing and pre-
23   market quality control and internal validation.
24                As discussed more below, VIZIO was also put on notice of the Power Defect
25   from consumer complaints which began almost immediately upon release of Class
26
27
     16
         See,   e.g., http://cdn.vizio.com/user-manual/PDF/2020/TV/P9-Series_P65Q9-
     H1_P65Q9-H61_P75Q9-H1_P75Q9-H61-UM-ENG.pdf; User Manual: P65QX-H1,
28   P75QX-H1, P85QX-H1 ENG (vizio.com)
                                               - 13 -
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 1   Televisions. Nevertheless, VIZIO continued (and continues to this day) to sell Class
 2   Televisions without disclosing the Power Defect, even as consumer complaints continued
 3   (and continue to this day) to mount.
 4                  Importantly, VIZIO began receiving these consumer complaints before
 5   Plaintiffs purchased their Class Televisions.
 6          The Power Defect Manifests in the Class Televisions Soon After Launch
 7                  The Class Televisions suffer from a latent defect—though they can appear
 8   to function normally out of the box, the Class Televisions’ power feature is defective,
 9   causing the televisions to repeatedly shut down and fail to power on when they have been
10   left off.
11                  Televisions that manifest the Power Defect are not suitable for their normal
12   and intended purposes. Such power failures render a television essentially unusable when
13   the television shuts off suddenly, and without warning. Often, users have to resort to
14   unplugging the Class Television and then plugging them back in to get them to power
15   back on, but even that does not work in every instance to restore power to the Class
16   Televisions.
17                  The raison d’être of a television is to watch shows, movies, video games, etc.
18   That core function is obviously thwarted when the television repeatedly turns itself off or
19   does not turn on.
20                  Within weeks of the Class Televisions launching, consumers began posting
21   about the Power Defects on social media, internet message boards, and product pages on
22   retailer websites.17 Like many companies, VIZIO monitors these online postings. This is
23   further evidenced by the fact that VIZIO often responded on social media to these online
24   complaints.
25
26
27
     17
       See, e.g.,
     https://www.reddit.com/r/VIZIO_Official/comments/junr2w/oled_wont_turn_back_on_
28   need_to_unplug_and_replug/; (last visited Aug. 25, 2022).
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 1               Many consumers also complained directly to VIZIO through VIZIO’s own
 2   support page—either via text message or through a live agent chat feature.18 Many others
 3   called or otherwise contacted VIZIO support.
 4               Customer complaints demonstrate that this is not an isolated issue. Many
 5   consumers have taken to the internet to gripe about the Power Defect and their failed
 6   experiences in receiving any sort of assistance from VIZIO in addressing or otherwise
 7   fixing the Power Defect. Class Members did not know, and had no reasonable means of
 8   discovering on their own, that the Class Televisions were defective prior to purchase.
 9               Publicly available complaints and consumer reviews demonstrate that the
10   Power Defect manifests the same way across VIZIO’s customer base, interfering with
11   customers’ use of the Class Televisions. Below are some examples of the numerous
12   consumer complaints concerning manifestation of the Power Defect in their Class
13   Televisions, many of whom experienced the Power Defect soon after installation. Upon
14   information and belief, VIZIO monitors online forums and social media posts regarding
15   its products and consumers.
16               a. Posted 1 year ago19

17                     i. “I've had a great experience with Vizio in the past, and the ordering
                          and delivery from Best Buy was smooth and quick. The tv looked
18
                          great when it worked. But after only two days it will no longer turn
19                        on. I noticed the tv randomly turning on and off during
20                        installation, but I assumed I was bumping the power button in
                          the back. Happened again later after being mounted where the
21
                          tv seemed to briefly turn off and then back on again, but I
22                        thought it had something to do with setting up CEC.On day 2
23                        however, after working fine in the afternoon, it wouldn't turn
                          back on in the evening. Tried different things, disconnect all
24
                          input devices, but still nothing. Vizio tech support tried to help,
25                        but they couldn't figure it out. So I will be returning the TV.
26
     18
27     See https://support.vizio.com/s/contact-us?language=en_US.
     19
       https://www.bestbuy.com/site/reviews/vizio-55-class-oled-4k-uhd-smartcast-
28   tv/6416810?rating=1 (last visited Aug. 25, 2022) (emphasis added).
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 1                           One thing I noticed after packing the tv up again is that the power
 2                           cord that came with the unit doesn't match the shape on the back of
                             the tv (non polarized vs polarized, respectively). Brought this up
 3
                             with Vizio tech support and they stated that this should be the cause.
 4                           But I'm not sure about that. I've added pictures to show what I'm
 5                           talking about. On another note, CEC commands seemed to be hit or
                             miss on this unit when connected to an Apple TV and SONOS Amp.
 6
                             My previous TV (SONY) worked just fine with CEC, so I'm not
 7                           sure what the issue was with the Vizio. But this is something that I
 8                           expect they'll fix with a firmware update. Its a shame, the Vizio
 9                           OLED looked really good.”

10                  b. Posted 8 months ago20
11                        i. “I normally never right reviews but had to because of how horrible
12                           this has been. I purchased this tv after owning a Vizio LED TV. It
                             had some issues but overall I loved it and was ready to upgrade to
13
                             OLED. After reading some promising tech blog reviews and seeing
14                           this on sale I took the plunge. I have had this TV for 5 months now
15                           and here is my review:Setup: Audio – Sonos Arc, Streaming –
                             Apple TV 4K, Gaming Consoles- Xbox Series X + Nintendo
16
                             Switch. All HDMI cables are 2.1 certified cables. The TV has
17                           incredible picture that is really a huge step up from an LCD and
18                           even LED. The unit itself is gorgeous and looks great on a stand.
19                           Cons:This TV constantly fails to power on. Since I use Apple TV
                             to watch most of my content, I use the Apple TV remote to power
20                           the TV on and off. 4/10 times the TV will power on as it should.
21                           3/10 times I have to dig up the Vizio remote or walk over to the
22                           TV to turn it on because it does not power up with the Apple
                             TV. 1/10 times the TV says “no signal” on power up and I have
23
                             to unplug the Apple TV HDMI and reconnect. 1/10 times I have
24                           to fully unplug the TV from power and reconnect it (sometimes
25                           several times) to have the TV power on because it will not
                             respond to the remote or the built in power button. I have reset
26
                             this TV back to factory settings over 20 times and reconfigured
27
28   20
          Id. (last visited Aug. 25, 2022) (emphasis added).
                                                  - 16 -
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 1                       it and it still wont fix this. Many times when the TV powers on, it
 2                       forgets the soundbar and an annoying pop up stays on screen saying
                         a new audio device has been configured. The TV has 2 power
 3
                         modes, eco and quick-start. In order to use Alexa or HomeKit the
 4                       TV needs to be in quick-start. For some reason the TV always
 5                       reverts to eco which essentially disables Alexa and HomeKit when
                         the TV is powered off. Vizio has claimed that they are aware of
 6
                         these issues but in the 5 months I have owned it, they have only
 7                       released 1 update that fixed some issues (ie 120hz refresh rate
 8                       for new consoles) but clearly do not seem concerned to fix
 9                       something that should never have been broken in the first place.
                         My unit also did not come with a stand in the box (box was sealed,
10                       it was a factory error).I had a $200 Insignia Roku LCD TV with a
11                       similar setup and features that I never had to touch the TV remote
12                       nor once had an issue with at all.If you are deciding between this
                         and a similar model from LG or Sony I would encourage you to
13
                         spend the extra money on a TV that looks good and also powers on.
14                       This will be my last Vizio purchase.”
15
                c. Posted 1 year ago21:
16
                       i. Just bought 2 of these to use as computer monitors. Great image
17                        quality, WHEN I can get it to work. Some issues that are making
18                        me really think about returning it though:
19                            1) If left turned off for awhile I have to unplug it then re-
                          plug to be able to turn it back on again. (Other people have
20                        complained about same issue on other sites)
21                            2) Its advertised to support VRR but its not active or on.
22                        (included picture). Professional reviewers at Rtings.com also say
                          VRR not on.
23
                              3)When using Netflix or Prime Video on computer or laptop,
24                        the screen goes black and flickers between HDR10 and HLG
25                        modes. The sound plays through computer speakers so I know its
                          running, but the display goes crazy and doesn't show. The Netflix
26
27   21
       https://www.bestbuy.com/site/reviews/vizio-55-class-oled-4k-uhd-smartcast-
28   tv/6416810?rating=1 (last visited Aug. 25, 2022) (emphasis added).
                                             - 17 -
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 1                           and Prime on the TV work fine though. If Vizio would fix this issues
 2                           in a firmware soon, then this will be an amazing buy at this price.

 3
                   d. Posted 1 year ago:22
 4                        i. Picture is nice but the TV don't turn on unless I unplug it and plug
 5                           it in. I called best buy customer service and they hung up on me. All
                             I wanted was an exchange for a working TV, mobility issues make
 6
                             it hard to unplug and replace the TV from the outlet and defeats the
 7                           purpose of the remote control.
 8
                   e. Posted 7 months ago:23
 9
                          i. Like may others have mentioned in their reviews, the picture is
10                           great. But everything else is awful, this TV is full of bugs that have
11                           not been addressed in the almost year since this tv has been release.
12                           Some of the most basic features of the TV do not work.

13
                             - Sometimes the TV just doesn't power on
14                           - The settings are not retained between power cycles (particularly
15                           the luminance settings.
                             - Casting and Homekit work intermittently. For a platform called
16
                             "Smartcast"
17
18                           Do you like a TV that powers on and remembers its settings?
19                           This TV is not for you. This doesn't seem to be a problem
                             related to my particular unit, you can look at other reviews that
20                           seem to have the same problems where they have gotten
21                           replacements and it hasn't solved the issue. It's embarrassing and
22                           probably criminal that Vizio that they would sell a TV in this state.
                             Worst of all neither Best Buy nor Vizio will take responsibility for
23
                             selling a broken product. I simply want a refund but they hide
24                           behind it being outside of the return window. Which shouldn't apply
25                           to selling a defective product and advertising features that don't
                             work.
26
27   22
          Id.
28   23
          Id. (emphasis added).
                                                 - 18 -
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 1
 2              f. Posted 5 months ago:24
                      i. how to I make this 0 stars? Do a little bit of research before dropping
 3
                         this kind of cash. There are a ton of issuses with this TV and mine
 4                       suffers from all of them. The biggest issue is 80% of the time the
 5                       screen wont display any image unless you unplug from the wall
                         and disconnect any hdmi cables. then turn it on and cross your
 6
                         fingers. You will probably have to do this a couple times before
 7                       you plug the hdmi back in. After a full day at work I have to
 8                       spend anywhere between 5-30 mins to get the TV to turn on and
 9                       actually use it. Absolute garbage product.

10              g. Posted 1 year ago:25

11                    i. Is there a way to rate this no stars?! I have had two of these sets.
12                       The first set in the summer of 2020 was not sharp, lacked clarity,
13                       did not upscale content, had a blotchy backlight, and effectively did
                         not appear to be high definition. Vizio replaced it with a second set.
14
                         The second set, too, is not as clear as the 2018 Vizio P Series that it
15                       replaced and exhibits the same issues as the first P65Q9-H1 set.
16                       Vizio sent out a tech to replace something in this second P65Q9-H1
                         set. After that repair, this second set sporadically loses sound, will
17
                         not connect to the smart apps, gives a green screen at other times
18                       when it does connect to the apps, and at times will not power on.
19                       The solution most times is to attempt one or more hard restarts
20                       that involve unplugging the TV and holding the power button
                         for thirty seconds or more, then plugging everything back in. I
21                       have contacted Vizio about this second set, but they have not
22                       been receptive to correcting the current issues. Look at the
23                       photos and tell me if this is what you'd expect from a set that cost a
                         grand. All I want is a TV that works in my family room. Instead I
24
                         have a tv that provides nothing but problems followed by hours (yes
25
26   24
       https://www.bestbuy.com/site/vizio-65-class-oled-4k-uhd-smartcast-
27   tv/6416848.p?skuId=6416848 (emphasis added).
     25
       https://www.bestbuy.com/site/vizio-65-class-p-series-quantum-series-led-4k-uhd-
28   smartcast-tv/6416449.p?skuId=6416449 (last visited Aug. 25, 2022) (emphasis added).
                                              - 19 -
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 1                     hours) of online chats or phone calls that do not result in a
 2                     resolution. As such, I have a tv that my children avoid. I finally had
                       to move my smaller kitchen Samsung into the family room in order
 3
                       to bring the family back to that room. At this point, I will shell out
 4                     money for a new family TV, and I guess that I have to eat this one.
 5                     Yes, this has been a nightmare. The only other recourse I have is to
                       let fellow consumers know that you are really rolling the dice when
 6
                       you purchase a Vizio.
 7
 8            h. Posted 2 months ago:

 9                  i. Ok, so im on my 2nd one cause the first one developed a brown spot
                       near the power cable input. I just chalk that up to a bad unit. This
10                     tv, inspite of itself, can produce a 4k image at 120hz. How well and
11                     often it does it is depending on what device, cable, and input you
12                     select. Xbox series X The audio will glitch out and the aspect ratio
                       will be off sometimes when selecting the input. Happens on inputs
13
                       3 and 4, which are the hdmi 2.1 ports. This is by far the best
14                     functioning device hooked up to the tv. And by best functioning i
15                     mean the only device i was able to take out of the box, plug it in,
                       and it just worked. Playstation 5 Assuming that you managed to slay
16
                       the kraken in order to obtain one, you'll be happy to know it just flat
17                     out doesnt work with hdmi 2.1. At all. You will be met with a screen
18                     of glitched out rainbow pixels. It barely works on hdmi 2.0. I have
19                     it running through the PSVR breakout box in order to get a signal
                       in 4k at 60hz. DO NOT BUY THIS TV FOR PS5 ONLY. PC (Zotac
20                     Twinedge 3060 ti output) You can get 4k 120hz on pc ...with the
21                     right hdmi 2.1 cable. I tried using the cable that came with the series
22                     x, the ps5, and another rando cable i had. I tried the cables on ports
                       3 and 4. None of them would allow me to run above 4k 60hz. I
23
                       bought an amazon basics hdmi 2.1 cable and that seem to fix the
24                     problem. The audio over 2.1 is glitchy. It literally goes from clear
25                     audio to chiptune sound waves back to clear audio in 2 minute
                       intervals. In General This tv crashes an unreasonable amount,
26
                       to the point where you have to physically unplug the tv to reboot
27                     it. Your not guaranteed an image or sound when switching between
28                     inputs. Horrible brown halo on white text against black
                                            - 20 -
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 1                        backgrounds. Loads of apps ive never heard of or going to use. Cats
 2                        sleeping dogs. ...this tv is just annoying. It works in very specific
                          ways ...sometimes ...very annoyingly.26
 3
 4              i. Posted December 14, 2020:
 5                       What a joke. I don’t have the receipt for my tv, it shuts down
                         won’t power on at all, and their protocol is to say if it’s older than
 6
                         expect that I might buy another Vizo TV. #Never again.27
 7
 8              j. Posted December 7, 2020:

 9                       Hello we got our second vizio oled H1 55 inch the first one had
                         problems with port 2 nd 3 for my xbox series x, we return that one
10                       and got a replacement but this one have a problem that it wont turn
11                       on the next day unless that you unplug it and plug it back28
12
                k. Posted November 23, 2020:
13
                         I just bought the vizio oled n the TV is amazing but buggy. When is
14                       the update for next gen console coming @Vizio? We need answers
15                       the entire world is waiting. None of these features work on next gen
                         console. Plus the TV would sometimes turn off n would have to
16
                         unplug completely29
17
18              l. Posted 2 years ago:

19                     i. Hey guys my Vizio OLED TV won’t turn on anymore I tried
                          swapping out the non-polarized cable with a polarized cable but
20                        nothing will work on it. Do you guys have any idea on what’s going
21                        might be going on with my television? Like I said I tried to swapping
22                        out the non-polarized cable from the wall outlet waiting 60 seconds

23
24   26
        Id. (emphasis added).
     27
         https://twitter.com/mfcoburn/status/1338494611317252096 (last visited Aug. 23,
25
     2022).
26   28
        https://twitter.com/masternight2010/status/1336133036786724871 (last visited Aug. 23,
27   2022).
     29
        https://twitter.com/MikeMartinez8/status/1330990854316572672 (last visited Aug 23,
28   2022).
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 1                     and plugging it back in to see if I could reset the TV and even that’s
 2                     not working can anybody help me?30

 3
                     ii. Non functional - After having a Vizio Led for 4 years with no issues
 4                       I bought the OLED one at Best Buy and was quite excited about it.
 5                       However, that didn’t last long. The TV kept shutting itself down and
                         sometimes wouldn’t even turn on unless you unplug from the AC
 6
                         and plugged it again It would also not properly save the settings. I
 7                       found a lot of people having the same issues on Reddit and no
 8                       response from Vizio on a firmware fix for this so I returned mine
 9                       and got an LG.
                         Response from VIZIO:
10                       Hello Juan, I would like to offer the assistance of our award-winning
11                       technical support team with this issue.                   Pleae visit
12                       support.VIZIO.com and click on ‘Contact Us’. We’ve got agents
                         ready to chat, text message, or speak with you on the phone.31
13
14                   iii.Terrible software – I bought the tv about a month ago and have never
15                       had as many problems with a tv in my life. Vizio has a reputable
                         name so of course I wanted to give the oled a try. Day one when I
16
                         got the tv home it wouldn’t power up. So after plugging the tv up
17                       and unplugging it a few times I got it to power up. The oled does
18                       have a beautiful picture but now every morning when I want to turn
19                       on the tv it won’t power up again. I have to unplug the tv for 30
                         minutes EVERY morning for it to come on now. While I’m
20                       watching tv the sound just goes away at times and I have to reboot
21                       the tv sometimes 3 times before the sound comes back on. At times
22                       the hdmi won’t recognize it has the cable or game system connected
                         so I have to turn it off and on again when that happens. This is just
23
                         unacceptable from vizio. I hear there will be firmware updates but
24                       how long will that take? I don’t know what to do should I return the
25
26   30


27   https://www.reddit.com/r/VIZIO_Official/comments/kh9nv2/my_55_inch_vizio_oled_tv
     _wont_turn_on_anymore/ (last visited Aug. 23, 2022).
28   31
        https://www.vizio.com/en/tv/oled/OLED55-H1 (last visited Aug. 23, 2022).
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 1                          tv and try another vizio oled or just stay clear of vizio because this
 2                          is the beat quality they can produce right now.
                            Response from VIZIO:
 3
                            Hello. Very sorry to hear you are having issues with the TV needing
 4                          to be power cycled often. I would like to offer the assistance of our
 5                          award-winning technical support team with this issue. Please visit
                            support.VIZIO.com and click on ‘Contact Us’. We’ve got agents
 6
                            ready to chat, text message, or speak with you on the phone.32
 7
 8                  VIZIO Fails to Adequately Address or Disclose the Power Defect
 9                  VIZIO’s registration statements confirm that each product undergoes testing
10   at the testing facilities of VIZIO’s third-party manufacturers under VIZIO’s control.
11   Further, VIZIO confirms its LCD panels “go through a proprietary test method in
12   manufacturing . . . .”33 On information an belief, pre-release testing performed by VIZIO
13   on the Class Televisions included durability, reliability, and/or environmental testing.
14   VIZIO would subject the Class Televisions to power-related testing and analysis to
15   replicate consumer use and evaluate the performance of the Class Televisions. VIZIO’s
16   rigorous testing to ensure quality necessarily revealed to it that the Class Televisions
17   experienced power failures during the course of normal use and are plagued with the
18   Power Defect. Based on this pre-production testing, pre-production design or failure
19   mode analysis, and post-production testing, research, and product failure analysis, VIZIO
20   was aware of the Power Defect in its Class Televisions but did not correct the defect prior
21   to sale in order to achieve higher profits in selling the Class Televisions, which they
22   falsely marketed as defect-free. This information was not available to Plaintiffs and
23   members of the Class at the time of their purchases.
24                  The Power Defect would have been particularly easy to detect during any
25   pre-release testing, demonstrations, etc. since it can happen anytime the TV is powered
26   on. Because of the nature of televisions, VIZIO and its third-party manufactures would
27   32
          Id. (last visited Aug. 23, 2022).
28   33
           See, e.g., VIZIO Holding Corp. SEC Form S-1 Registration Statement (Mar. 1, 2021).
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 1   have extensively studied and tested many aspects of Class Televisions that would have
 2   involved the televisions being powered on for extended periods of time. VIZIO, like all
 3   television makers puts out extensive information on each model’s resolution, frame
 4   refresh rate, color contrast, brightness, viewing angles, processor speed, estimated annual
 5   electricity consumption, and numerous other attributes that would be impossible to
 6   develop, measure, and test without spending countless hours with Class Televisions
 7   powered on.
 8                 VIZIO was aware of the consumer complaints soon after release of the Class
 9   Televisions. Not only did many consumers contact VIZIO directly, but VIZIO’s public
10   responses to complaints from Class Television customers about purported “firmware
11   fixes” demonstrates VIZIO’s knowledge of the Power Defects Class Television owners
12   were experiencing.34
13                 VIZIO even posted a dedicated page on its customer support site for
14   consumers whose televisions “won’t power on/will not turn on/no power.” The article
15   was “intended to help TV’s that will not turn on, or are turning themselves off.”35 The
16   article, however, only provides consumers with time consuming troubleshooting tips—
17   including unplugging the television and plugging it back in—and does not indicate that
18   there is any actual fix or repair to remedy the Power Defect.
19                 Despite all of the above, VIZIO continued (and continues to this day) to sell
20   Class Televisions without disclosing the Power Defect to potential new consumers.
21
22
23
24
25   34
       See, e.g. https://www.bestbuy.com/site/reviews/vizio-55-class-oled-4k-uhd-smartcast-
26   tv/6416810?rating=1.
     35
27      See VIZIO Support, “My device won’t power on/will not turn on/no power,” available:
     https://support.vizio.com/s/article/My-device-won-t-power-on-will-not-turn-on-no-
28   power?language=en_US.
                                                - 24 -
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 1                In addition to the complaints, online publications were also beginning to
 2   emerge about the Power Defect, trying to provide consumers with workarounds since
 3   VIZIO was not taking any steps to resolve the issue itself.36
 4                The New York Times even removed the VIZIO OLED TV from its
 5   compilation article of recommended gaming televisions due to reported issues from
 6   owners about power-related failures. The New York Times reported that while it
 7   “originally had Vizio’s OLED TVs listed in Other good gaming TVs …we’ve seen reports
 8   of users experiencing power issues and other software bugs when feeding the OLED TVs
 9   a 4K/120 Hz signal from gaming consoles.”37
10                Despite being aware of the Power Defect, VIZIO has yet to acknowledge the
11   problem or offer a suitable remedy. VIZIO instead tries to downplay the significance of
12   the Power Defect, claiming that the issue is “not common.”38 Examples of customer
13   complaints experiencing the exact same issues tell a different story. Notably, none of the
14   customer complaints demonstrate that this is a problem that they anticipated or knew
15   about prior to purchasing their Class Televisions, as VIZIO worked to conceal the Power
16   Defect from consumers.
17                VIZIO’s customer service support for the Class Televisions is reportedly
18   unhelpful, and consumers generally report that VIZIO technical support cannot “figure
19   out” or cure the power related failures. Some users have even complained that VIZIO has
20
21
22
23   36
        See, e.g. Vizio TV Keeps Restarting (During Setpup/After Update/Won’t Restart),
24   available:      https://readytodiy.com/vizio-tv-keeps-restarting-during-setup-after-update-
     wont-restart-0051/; Vizio TV Keeps Turning Off or Won’t Turn Off, available:
25
     https://readytodiy.com/vizio-tv-keeps-turning-off-or-wont-turn-off-0051/;
26   37
        See Heinonen, The Best TV for Video Games, New York Times (May 10, 2021),
27   available: https://www.nytimes.com/wirecutter/reviews/best-tv-for-video-games/.
     38
        See, e.g., https://www.bestbuy.com/site/reviews/vizio-55-class-oled-4k-uhd-smartcast-
28   tv/6416810?rating=1 (last visited Aug. 25, 2022).
                                               - 25 -
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 1   acknowledged that it is aware of the Power Defect, yet it does “not seemed concerned to
 2   fix something that should never have been broken in the first place.”39
 3                There is no known fix for the Power Defect. But instead of offering refunds
 4   or non-defective replacements, VIZIO’s uniform response is to provide owners that report
 5   either issue to go through a series of troubleshooting steps to diagnose the problem or—
 6   when the troubleshooting steps inevitably fail—promise consumers that an elusive
 7   “forthcoming firmware fix” will be available at some unspecified point in the future to
 8   fix the problems. Multiple firmware updates later, it remains unremedied. Other
 9   consumers complain that VIZIO promises to return phone calls or send a service
10   technician, but never follows through on its promises. Several users summarize their
11   experiences in contacting VIZIO about the Power Defect on the Better Business Bureau
12   complaints forum:
13         a. Posted 9/19/202140
14             i. “There is a common issue with the Vizio Oled TV I purchased where it
                    will sometimes fail to power on, and sometimes fail to show a screen,
15
                    when connected to a PS5. I have had the TV for 11 months, with Vizio
16                  promising a firmware solution that has yet to release. Vizio support would
17                  not honor a warranty request for a refund, or a replacement model that
                    did not have these issues. I am still under warranty. Vizio case number
18
                    22530904.”
19
20         b. Posted 9/6/2141
               i. “In late July I called Vizio about my 55 inch tv not powering on. After
21
                    troubleshooting with an agent they determined the tv needing repair and
22                  would need a tech to fix it. It was a month before someone got a hold of
23                  me and they the scheduled an appointment and never showed up. So I
24                  have been waiting 2 months for my tv to be fixed with absolutely no

25   39
        https://www.bestbuy.com/site/reviews/vizio-55-class-oled-4k-uhd-smartcast-
26   tv/6416810?rating=1 (last visited Aug. 25, 2022).
27
     40
        https://www.bbb.org/us/ca/irvine/profile/audio-visual-equipment/vizio-1126-
     13209958/complaints (last visited Aug. 25, 2022).
28   41
         Id. (last visited Aug. 25, 2022).
                                               - 26 -
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 1                     communication from vizio. I did call to voice my concern and the agent
 2                     promised me someone would show up the next day. No one showed up.
                       If I do not have a replacement tv I will be seeking legal advice do to the
 3
                       fact my tv should be replaced. Completely inexcusable that a company
 4                     treat a customer like this.”
 5
           c. Posted 8/31/202142
 6
               i. “I bought a Vizio TV last December. In January it would not turn on. I
 7                  chatted with Vizio and they had me reset it. This happened a few more
 8                  times and I reset it on my own. It again happened a few weeks ago. I
 9                  chatted again and they had me reset it. I explained I have already done
                    this several times. It should not happen to a new TV. They said it was
10                  under warranty and if it happened again to call them . I saved the January
11                  chat and the one a few weeks ago for proof. This is a faulty TV and they
12                  will not replace it. I asked for a manager. They gave me a number for
                    **** who my wife and I have called probably ten times and left several
13
                    messages. She has never called us back. I think this company is not
14                  honoring its warranty and is purposely not calling us.”
15
           d. From Elisha K, on 9/29/2143
16
17              i.     “DON'T BUY VIZIO. vizio *****. I have a 65 inch vizio it freezes
18                     sometimes. I have a 55 vizio sometimes I have to to unplug it and plug it
19                     back it for it to come on.”

20                   VIZIO has long known that the Class Televisions are fatally flawed.
21   Standard product testing should have alerted VIZIO to the Power Defect even prior to
22   launching the devices. VIZIO also began receiving online complaints in late 2020, almost
23   immediately after launch.
24
25
26
     42
27     Id. (last visited Aug. 25, 2022).
      https://www.bbb.org/us/ca/irvine/profile/audio-visual-equipment/vizio-1126-
     43

28   13209958/customer-reviews (last visited Aug. 25, 2022).
                                                 - 27 -
                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1                  Despite the growing number of complaints, and VIZIO’s knowledge of the
 2   Power Defect, VIZIO has declined to provide its customers with adequate warranty
 3   service in accordance with their reasonable expectations.
 4                  The VIZIO warranty provides that, if there is a defect, “VIZIO will (at its
 5   option) repair or replace it, or refund the purchase price to you.”44 Plaintiffs and members
 6   of the Class lacked the ability to negotiate or even review the terms of the warranty prior
 7   to purchase. The warranties are offered on a “take-it-or-leave-it” basis.
 8                  Instead of providing refunds or replacing Class Televisions with non-
 9   defective televisions, VIZIO exercises its discretion under the warranty to refuse to repair
10   or replace the defective televisions and continue to deny customers access to an adequate
11   fix that will remedy the Power Defect.
12                  In response to warranty claims, VIZIO wasted its customers’ time with futile
13   troubleshooting sessions, or provided ineffective repairs or “quick fixes”, often resulting
14   in repeat failure. VIZIO thereby precluded its customers from realizing warranty benefits.
15                  Despite knowing of the Class Televisions’ defective nature before it placed
16   the Class Televisions on the market and before Plaintiffs purchased their Class
17   Televisions, VIZIO failed to disclose the Power Defect and its associated problems to
18   Plaintiffs and other consumers prior to purchase and failed to provide Class Television
19   owners with an adequate remedy when the Power Defect manifested. Instead, VIZIO
20   downplayed the severity and scope of the problem, and tried to sweep the Power Defect
21   under the rug with ineffective warranty service. Meanwhile, VIZIO continued to promote
22   its Class Televisions as top-of-the-line and as offering one of the best televisions on the
23   market.
24                  VIZIO has made hollow promises for a firmware fix that has yet to
25   materialize. VIZIO still has not remedied the Power Defect, recalled the Class
26
27
28   44
          https://www.vizio.com/en/terms/warranty-and-returns (last visited Aug. 25, 2022).
                                                - 28 -
                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1   Televisions, provided restitution, extended its warranty, or disclosed the existence of the
 2   Power Defect.
 3                VIZIO representatives not just monitored but responded to consumer
 4   complaints on forums such as reddit. The representatives made clear VIZIO was aware
 5   of the problem, had been working on a fix for a while, and promised that the firmware
 6   update would fix the problem. For example on September 17, 2021:
 7
 8
 9
10
11
12
13                As discussed above, when this firmware update finally did come out, it did
14   not fix the Power Defect.
15                Newer online complaints also reinforce Plaintiffs’ experiences that VIZIO
16   has still not fixed the Power defect:
17         From June 3, 2022:45
18
19
20
21
22
23
24
25
26
27
     45
       https://www.amazon.com/gp/customer-
     reviews/R1QIX03EZYNZF8/ref=cm_cr_othr_d_rvw_ttl?ie=UTF8&ASIN=B09JYN63B
28   5 (last visited Aug 22, 2022).
                                               - 29 -
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 1        From July, 2022:46
 2
 3
 4
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 6
 7
 8
 9
          From January 19, 2022:47
10
11
12
13
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15
16
17
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21
22
23
24
25
     46

26   https://www.reddit.com/r/VIZIO_Official/comments/vgwv5p/vizio_oled_and_p_series_fi
27   rmware_update/?sort=new (last visited Aug. 22, 2022).
     47
        https://twitter.com/MBen0308/status/1483961379916713984 (last visited Aug. 22,
28   2022).
                                           - 30 -
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 1            June 23, 2022:48
 2
 3
 4
 5
 6
 7
 8
 9
10                   Because of VIZIO’s actions, Class Television owners have suffered damages
11   in the form of loss of use, failure of the Class Television’s core functionality, loss of the
12   benefit of their bargain, diminution of value of and overpayment for their Class
13   Televisions, and lost time and expense involved in contacting VIZIO and retailers about
14   the problem and waiting for replacements and/or repairs.
15                               CLASS ACTION ALLEGATIONS
16                   Plaintiffs bring this lawsuit on behalf of themselves and all others similarly
17   situated, as a class action.
18   Plaintiffs seek certification of two classes defined as follows:
19                   California Class: All individuals who purchased one or more of the
20                   Class Televisions in California.

21                   Pennsylvania Class: All individuals who purchased one or more of
22                   the Class Televisions in Pennsylvania.

23                   Excluded from the Class is VIZIO, its affiliates, subsidiaries, parents,
24   successors, predecessors, any entity in which VIZIO or its parents have a controlling
25   interest; VIZIO’s current and former employees, officers and directors; the Judge(s)
26   and/or Magistrate(s) assigned to this case and their staffs and immediate family members;
27
28   48
          https://twitter.com/ricemn/status/1539979560019689472 (last visited Aug. 22, 2022).
                                                  - 31 -
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 1   any person who properly obtains exclusion from the Class; any person whose claims have
 2   been finally adjudicated on the merits or otherwise released; and the parties’ counsel in
 3   this litigation. Plaintiffs reserve the right to modify, change, or expand the Class
 4   definitions based upon discovery and further investigation.
 5                Numerosity. The Class is so numerous that joinder of all members is
 6   impracticable. Thousands of Class members have been subjected to VIZIO’s conduct
 7   described herein. The Class is objectively defined and presently ascertainable by
 8   reference to records in the possession of VIZIO or third parties.
 9                Existence and Predominance of Common Questions of Fact and Law.
10   Common questions of law and fact exist as to all members of the Class. These questions
11   predominate over the questions affecting individual Class members. These common legal
12   and factual questions include:
13                a.     Whether the Class Televisions were defective at the time of sale in
14   that they were prone to failing prematurely due to the camera and battery defects;
15                b.     Whether VIZIO unlawfully, falsely, deceptively, or misleadingly
16   represented that the Class Televisions had qualities that they did not have;
17                c.     Whether VIZIO knew of the defect but continued to sell the Class
18   Televisions and failed to disclose the problems and their adverse consequences to
19   consumers;
20                d.     Whether a reasonable consumer would consider the defect and its
21   consequences to be material;
22                e.     Whether VIZIO’s conduct violates consumer protection laws and
23   other laws as asserted herein;
24                f.     Whether Plaintiffs and Class members overpaid for their Class
25   Televisions as a result of the defect alleged herein;
26                g.     Whether VIZIO’s conduct was deceitful; and
27                h.     Whether Plaintiffs and Class members are entitled to equitable relief,
28   including restitution or injunctive relief.
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 1                Typicality. Plaintiffs’ claims are typical of the claims of the Class in that
 2   Plaintiffs and all Class members purchased or own defective Class Televisions and
 3   sustained economic injury in the same manner by reason of Defendant’s uniform course
 4   of conduct described herein. Plaintiffs and all Class members have the same claims
 5   against VIZIO relating to the conduct alleged herein, and the events and conduct giving
 6   rise to Plaintiffs’ claims for relief are identical to those giving rise to the claims of all
 7   Class members.
 8                 Adequacy. Plaintiffs are adequate representatives for the Class because
 9   their interests do not conflict with the interests of the Class that they seek to represent.
10   Plaintiffs have retained counsel competent and highly experienced in complex class
11   action litigation, including consumer protection and product defect class actions, and
12   counsel intends to prosecute this action vigorously. The interests of the Class will be fairly
13   and adequately protected by Plaintiffs and their counsel.
14                Superiority. A class action is superior to all other available methods for the
15   fair and efficient adjudication of this controversy. Because the amount of each individual
16   Class member’s claim is small relative to the complexity of the litigation, and because of
17   VIZIO’s financial resources, no Class member is likely to pursue legal redress
18   individually for the violations detailed herein. Individualized litigation would
19   significantly increase the delay and expense to all parties and to the Court and would
20   create the potential for inconsistent and contradictory rulings. By contrast, a class action
21   presents fewer management difficulties, allows claims to be heard which would otherwise
22   go unheard because of the expense of bringing individual lawsuits, and provides the
23   benefits of adjudication, economies of scale, and comprehensive supervision by a single
24   court without the unnecessary duplication of effort and expense that numerous individual
25   actions would engender.
26                Plaintiffs are unaware of any difficulties that are likely to be encountered in
27   the management of this action that would preclude its maintenance as a class action.
28
                                                 - 33 -
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 1                                PUBLIC INJUNCTIVE RELIEF
 2                  Plaintiffs seek an injunction on behalf of themselves, the putative class of
 3   similarly situated California residents, and the general public, prohibiting VIZIO from
 4   making material omissions to the public and would-be Class Members as to the nature of
 5   its Class Televisions. Plaintiffs also seeks a public injunction requiring VIZIO to notify
 6   all Class Televisions owners, and the public at large, about the Power Defect, setting forth
 7   a description of the Power Defect in the Class Televisions and that the Class Televisions
 8   do not perform as marketed and that the Power Defect is not fixable by the current
 9   firmware or software updates. VIZIO should also be required to correct its current product
10   advertising and labeling to disclose the Power Defect to unsuspecting consumers.
11                  Class Members and the public at large face a continuing risk of harm that the
12   Power Defect will impact the central functionality of their Class Televisions. VIZIO
13   continues to induce members of the public to purchase the Class Televisions by not
14   disclosing the Power Defect. The injunctive relief sought is essential to stopping VIZIO’s
15   continuing deceptive scheme. In the absence of an injunction, VIZIO will remain free to
16   continue to mislead members of the public and would-be Class Members regarding the
17   Power Defect, causing consumers to believe that the Class Televisions are defect-free and
18   do not suffer from the Power Defect.
19                  VIZIO lures consumers into purchasing the Class Televisions by touting the
20   Class Televisions as being the “art of perfection” with “refined attention to every detail”
21   and possessing “unparalleled power.”49 It also touts the Class Televisions as “best in
22   class” and possessing “epic power.”50 VIZIO does not disclose to consumers that Class
23   Televisions are defective, causing the televisions to prematurely power down and fail to
24   power on, a basic function that consumers would expect from any television, not to
25   mention one that they are paying a premium price for. Members of the general public who
26
27   49
          See https://www.vizio.com/en/tv/oled (last visited Aug. 25, 2022).
28   50
          See https://www.vizio.com/en/tv/p-series (last visited Aug. 25, 2022).
                                                 - 34 -
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 1   are would-be purchasers of the Class Televisions have the right to know the latent defects
 2   with this crucial feature.
 3                The injunctive relief sought by Plaintiffs will protect the public from
 4   VIZIO’s deceitful marketing practices which omit material facts about the existence of
 5   the Power Defect. Plaintiffs seek to enjoin VIZIO from omitting details about the power
 6   failures of its Class Televisions to the public.
 7
                                       CAUSES OF ACTION
 8
                                              COUNT I
 9
                   Violation of the California Unfair Competition Law
10                   Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”)
11   (Brought by Plaintiffs Williams and Bogolyubov on behalf of the California Class)

12                Plaintiffs reallege and incorporate by reference the preceding paragraphs.
13                Plaintiffs Williams and Bogolyubov (for purposes of this cause of action,
14   “Plaintiffs”) bring this cause of action on behalf of themselves and the California Class.
15                VIZIO has violated and continues to violate California’s UCL, which
16   prohibits unlawful, unfair, and fraudulent business acts or practices.
17                VIZIO is headquartered in California and directed the design, manufacture,
18   marketing, and sale of Class Televisions from California.
19                VIZIO’s acts and practices, as alleged in this complaint, constitute unlawful,
20   unfair, and fraudulent business practices in violation of the UCL. In particular, VIZIO
21   marketed, distributed, advertised, and sold Class Televisions even though Class
22   Televisions are not durable and are not capable of functioning reliably. Instead, Class
23   Televisions are prone to the Power Defect and failure, preventing Class Televisions from
24   operating reliably and sometimes at all. Despite VIZIO touting Class Televisions as
25   premium products, the Power Defect can render them unusable and unsuitable for their
26   primary purpose. VIZIO failed to disclose material facts concerning Class Televisions
27   performance and reliability at the point of sale and otherwise, despite touting and
28   advertising Class Televisions as a high-quality, durable product.
                                                 - 35 -
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 1                VIZIO’s business acts and practices are unlawful in that they violate the
 2   CLRA and other states’ consumer protection laws for the reasons set forth in this
 3   complaint.
 4                VIZIO’s acts and practices also constitute fraudulent practices in that they
 5   are likely to deceive a reasonable consumer. As described above, VIZIO knowingly
 6   conceals(ed) material facts related to Class Televisions reliability and performance. Had
 7   VIZIO not concealed these facts, Plaintiffs, class members, and reasonable consumers
 8   would not have purchased a Class Television or would have paid significantly less for it.
 9                VIZIO’s conduct also constitutes unfair business practices for at least the
10   following reasons:
11                a.      The gravity of harm to Plaintiffs and the proposed Class from VIZIO’s
12                        acts and practices far outweighs any legitimate utility of that conduct;
13                b.      VIZIO’s conduct is immoral, unethical, oppressive, unscrupulous, or
14                        substantially injurious to Plaintiffs and the members of the proposed
15                        Class; and
16                c.      VIZIO’s conduct undermines and violates the stated policies
17                        underlying the CLRA and other states’ consumer protection laws—to
18                        protect consumers against unfair and sharp business practices and to
19                        promote a basic level of honesty and reliability in the marketplace.
20                As a direct and proximate result of VIZIO’s business practices, Plaintiffs and
21   proposed Class members suffered injury in fact and lost money or property, because they
22   purchased and paid for a product that they otherwise would not have (or would have paid
23   less for).
24                VIZIO’s wrongful acts will continue unless restrained and enjoined by order
25   of this Court. Plaintiffs and the proposed Class are entitled to a public injunction and other
26   equitable relief, because of VIZIO’s ongoing unfair and deceptive practices, and such
27   other orders as may be necessary to prevent VIZIO’s ongoing and future violations of the
28   UCL. Pursuant to Cal. Bus. & Prof. Code § 17203, Plaintiffs are entitled to (i) an order
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 1   on behalf of the general public of the State of California enjoining VIZIO from
 2   committing violations of the UCL; (ii) requiring VIZIO to immediately cease the sale of
 3   Class Televisions with the Power Defect; (iii) requiring VIZIO to give individualized
 4   notice to all consumers who purchased Class Televisions in the State of California during
 5   the applicable limitations periods and the public at large of the existence of the Power
 6   Defect; (iv) requiring VIZIO to give individualized notice to all consumers who
 7   purchased Class Televisions in the State of California within the applicable limitations
 8   periods of their rights under the UCL and applicable California law; and (v) establishing
 9   an effective monitoring mechanism to ensure VIZIO’s continued compliance with the
10   terms of the injunction. Absent injunctive relief in a way that ensures that material
11   information about the Power Defect is fully and accurately disclosed, Plaintiffs and the
12   general public face the injury of being unable to rely on VIZIO’s representations in its
13   product advertising and labeling in deciding whether or not they should purchase the
14   product in the future. Plaintiffs and the proposed Class have no alternative adequate
15   remedy at law for injunctive relief.
16
                                             COUNT II
17
                Violations of the California Consumers Legal Remedies Act
18                        (Cal. Civ. Code §§ 1750, et seq.) (“CLRA”)
19    (Brought by Plaintiffs Williams and Bogolyubov on Behalf of the California Class)

20                Plaintiffs incorporate by reference each preceding and succeeding paragraph
21   as though fully set forth at length herein.
22                Plaintiffs Williams and Bogolyubov (for purposes of this cause of action,
23   “Plaintiffs”) bring this cause of action on behalf of themselves and the California Class.
24                VIZIO is a “person” as that term is defined in CAL. CIV. CODE § 1761(e).
25                Plaintiffs and members of the Class are “consumers” as that term is defined
26   in CAL. CIV. CODE §1761(d).
27                VIZIO engaged in unfair and deceptive acts in violation of the CLRA by the
28   practices described above, and by knowingly and intentionally concealing from Plaintiffs
                                                   - 37 -
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 1   and the Class members that the Class Televisions suffer from the Power Defect. These
 2   acts and practices violate, at a minimum, the following CLRA sections:
 3         (a)(5) Representing that goods or services have sponsorships, characteristics, uses,
 4   benefits or quantities which they do not have;
 5         (a)(7) Representing that goods or services are of a particular standard, quality, or
 6   grade, or that goods are of a particular style or model, if they are of another; and
 7         (a)(9) Advertising goods and services with the intent not to sell them as advertised.
 8
 9                VIZIO’s unfair or deceptive acts or practices occurred repeatedly in its trade
10   or business, and were capable of deceiving a substantial portion of the purchasing public.
11                VIZIO knew that the Class Televisions were defective, would fail
12   prematurely, and were not suitable for their intended use.
13                VIZIO was under a duty to Plaintiffs and the Class to disclose the defective
14   nature of the devices because:
15         a.     VIZIO was in a superior position to know the true state of facts about the
16   defect;
17         b.     Plaintiffs and the Class members could not reasonably have been expected
18   to learn or discover that the devices had a defect at the time of purchase; and
19         c.     VIZIO knew that Plaintiffs and the Class members could not reasonably have
20   been expected to learn or discover the defect and the associated costs until the
21   manifestation of the defect.
22                In failing to disclose the Power Defect and the associated costs and harm that
23   result from it, VIZIO has knowingly and intentionally concealed material facts and
24   breached its duty to disclose this material information.
25                The facts concealed or not disclosed by VIZIO to Plaintiffs and the Class
26   Members are material in that a reasonable consumer would have considered them to be
27   important in deciding whether to purchase the devices or pay a lesser price. Had Plaintiffs
28
                                                - 38 -
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 1   and the Class known about the defective nature of the Class Televisions, they would not
 2   have purchased the Class Televisions or would have paid less for them than they did.
 3                As a direct and proximate result of VIZIO’s conduct, Plaintiffs and Class
 4   members have been harmed, including, but not limited to: (1) paying more for the Class
 5   Televisions than they were worth and more than Plaintiffs and Class Members would
 6   have had they known of the defect, (2) paying out of pocket in an attempt to repair the
 7   defect and/or for replacement controllers; and (3) lost time addressing the Power Defect.
 8                VIZIO’S wrongful acts will continue unless restrained and enjoined by order
 9   of this Court. Injunctive relief by and large would benefit the general public here.
10   Injunctive relief benefits Plaintiffs only incidentally as members of the general public
11   because Plaintiffs have already been injured by and are therefore aware of the alleged
12   misconduct of VIZIO. Plaintiffs and the proposed Class are entitled to a public injunction
13   and other equitable relief, because of VIZIO’s ongoing unfair and deceptive practices,
14   and such other orders as may be necessary to prevent VIZIO’s ongoing and future
15   violations of the CLRA. Plaintiffs seek a public injunction (i) enjoining VIZIO from
16   engaging in violations of the CLRA; (ii) requiring VIZIO to immediately cease selling
17   Class Televisions with the Power Defect; (iii) requiring VIZIO to give individualized to
18   all consumers who Class Televisions in the State of California and the public at large of
19   the existence of the Power Defect, including through corrective advertising; and (v)
20   establishing an effective monitoring mechanism to ensure VIZIO’s continued compliance
21   with the terms of the injunction. Absent injunctive relief in a way that ensures that
22   material information about the Power Defect is fully and accurately disclosed, Plaintiffs
23   and the general public face the injury of being unable to rely on VIZIO’s representations
24   in its product advertising and labeling in deciding whether or not they should purchase
25   the product in the future. Plaintiffs and the proposed Class have no alternative adequate
26   remedy at law for injunctive relief.
27                Plaintiffs sent CLRA notices on behalf of themselves and a Class of similarly
28   situated individuals to VIZIO on August 9 and 10, and December 15 of 2021, providing
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 1   the notice required by CAL. CIV. CODE § 1782(a). VIZIO did not cure the violations of the
 2   CLRA alleged herein within the 30-day period, and thus Plaintiffs seek an award of
 3   damages on behalf of the Class.
 4                Plaintiffs further seek an order awarding costs of court and attorneys’ fees
 5   pursuant to CAL. CIV. CODE § 1780(e).
 6                Attached hereto as Exhibit “A” are CLRA venue declarations submitted
 7   pursuant to CAL. CIV. CODE 1780(d).
 8
                                             COUNT III
 9
                                Breach of Express Warranty
10   (Brought on behalf of Plaintiffs Williams and Bogolyubov and the California Class
11    under California law and on behalf of Plaintiff Kavehrad and the Pennsylvania
                              Class under Pennsylvania law )
12
13                Plaintiffs incorporate by reference each preceding and succeeding paragraph
14   as though fully set forth at length herein.
15                VIZIO is a “merchant” as defined under the Uniform Commercial Code
16   (“UCC”) as adopted under California and Pennsylvania law.
17                The Class Televisions are “goods” as defined under the UCC as adopted
18   under California and Pennsylvania law.
19                VIZIO expressly warranted that the Class Televisions were of high quality
20   and, at a minimum, would actually work properly. VIZIO specifically warranted attributes
21   and general functionality of the Class Televisions, including that the Class Televisions
22   were “the art of perfection” with “refined attention to every detail” and “unparalleled
23   power.”
24                VIZIO also expressly warranted that it would repair and/or replace defects
25   in material and/or workmanship free of charge that occurred during the applicable
26   warranty period of one year from the date of original purchase.
27                VIZIO’s Limited Warranty provides:
28
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 1                VIZIO warrants the product against defects in materials and
                  workmanship when the product is used normally in accordance
 2
                  with VIZIO’s user guides and manuals.51
 3
 4                These warranties formed the basis of the bargain that was reached when
 5   Plaintiffs and other Class members purchased Class Televisions.
 6                VIZIO offers the Limited Warranty to consumers on a take-it-or-leave it
 7   basis, and customers had no ability to negotiate the terms of the warranty prior to or after
 8   purchasing the Class Televisions. VIZIO also maintains all of the leverage in enforcing
 9   the warranty terms and maintains the “option” of whether to repair or replace a defective
10   product or refund the purchase price for a product that fails during the warranty period.
11   Any such replacement parts “may be new or recertified” but at VIZIO’s “option and sole
12   discretion.” VIZIO also requires that any customer “obtain pre-authorization before
13   sending [a] product to a VIZIO service center.”
14                Looking at the totality of the circumstances, VIZIO’s express warranty
15   provision is unconscionable and unenforceable under these circumstances. VIZIO’s
16   warranty limitation is unenforceable because it knowingly sold a defective product
17   without informing consumers about the Power Defect. The time limits contained in
18   VIZIO’s warranty period were also unconscionable and inadequate to protect Plaintiffs
19   and Class Members. Among other things, Plaintiffs and Class Members had no
20   meaningful choice in determining these time limitations, the terms of which unreasonably
21   favor VIZIO. A gross disparity in bargaining power exists between VIZIO and Class
22   Members, and VIZIO knew or should have known that the Class Televisions were
23   defective at the time of sale and would fail well before the end of their useful lives.
24
25   51
       https://www.vizio.com/en/terms/warranty-and-returns; see also
26   https://www.vizio.com/content/dam/vizio/us/en/images/product/2020/tvs/oled/oled55-
27   h1/2021_OLED55-H1_OLED65-H1-UM-ENG.pdf; User Manual: P65Q9-H1, P65Q9-
     H61, P75Q9-H1, P75Q9-H61 ENG (vizio.com); User Manual: P65QX-H1, P75QX-H1,
28   P85QX-H1 ENG (vizio.com).
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 1                In the alternative, if the Limited Warranty is enforceable, VIZIO breached
 2   its warranties by selling to Plaintiffs and the Class Members the Class Televisions with a
 3   known materials and workmanship defect, and which are not of high quality, and are
 4   predisposed to fail prematurely and/or fail to function properly. VIZIO also breached its
 5   warranty by failing to provide an adequate repair when contacted by Plaintiffs and the
 6   Class members following manifestation of the defect.
 7                As a result of VIZIO’s actions, Plaintiffs and Class members have suffered
 8   economic and other related damages.
 9                Plaintiffs and the Class members have complied with all obligations under
10   the warranty, or otherwise have been excused from performance of said obligations as a
11   result of VIZIO’s conduct described herein.
12                Plaintiffs notified VIZIO of the breach within a reasonable time or were not
13   required to do so, because affording VIZIO a reasonable opportunity to cure its breach of
14   written warranty would have been futile. Further, even for those Class Members who have
15   been able to contact VIZIO customer support about the Power Defect, VIZIO has not
16   represented that it has any fix for the Power Defect and has not otherwise provided
17   adequate repairs.
18                As a direct and proximate cause of VIZIO’s breach, Plaintiffs and Class
19   Members bought Class Televisions they otherwise would not have, overpaid for their
20   Class Televisions, did not receive the benefit of their bargain, and their Class Televisions
21   suffered a diminution in value. Plaintiffs and Class Members have and will continue to
22   incur costs for repair and replacement of their defective Class Televisions.
23                Plaintiffs and Class Members are entitled to legal and equitable relief against
24   VIZIO, including damages, consequential damages, specific performance, attorney fees,
25   costs of suit, and such further relief as the Court may deem proper.
26
27
28
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 1                                          COUNT IV
                      Breach of the Implied Warranty of Merchantability
 2
           (Brought on behalf of Plaintiffs Williams and Bogolyubov and the California
 3           Class under California law and on behalf of Plaintiff Kavehrad and the
                          Pennsylvania Class under Pennsylvania law)
 4
 5                  Plaintiffs incorporate by reference each preceding and succeeding paragraph
 6   as though fully set forth at length herein.
 7                  VIZIO is a “merchant” as defined under the UCC as adopted under
 8   California and Pennsylvania law.
 9                  The Class Televisions are “goods” as defined under the UCC as adopted
10   under California and Pennsylvania.
11                  A warranty that Class Televisions were in merchantable quality and
12   condition is implied by law in transactions for the purchase of Class Televisions. VIZIO
13   impliedly warranted that Class Televisions were of good and merchantable condition and
14   quality, fit for their ordinary intended use, including with respect to reliability, operability,
15   and substantial freedom from defects.
16                  Further,    VIZIO’s   Limited      Warranty    provides:    “ANY      IMPLIED
17   WARRANTIES,               INCLUDING           ANY      IMPLIED          WARRANTY             OF
18   MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE, WILL BE
19   LIMITED IN DURATION TO THE WARRANTY PERIOD SET FORTH ABOVE.”52
20                  The Class Televisions, when sold, and at all times thereafter, were not in
21   merchantable condition and are not fit for the ordinary purpose for which they are used
22   for the duration of the Limited Warranty period. The Power Defect renders the televisions
23   unmerchantable, as they are unreliable, partially or fully inoperable, and not substantially
24   free from defects. The Power Defect renders the Class Televisions unusable for their
25   ordinary purposes, because the televisions will power down and/or fail to power back on
26   intermittently and without warning.
27
28   52
          https://www.vizio.com/en/terms/warranty-and-returns.
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 1                VIZIO was provided with notice of the issues complained of herein by
 2   numerous complaints against them both online and to VIZIO customer service and
 3   including the instant lawsuit, within a reasonable amount of time.
 4                Plaintiffs and the other Class members have had sufficient direct dealings
 5   with either VIZIO or its agents to establish privity of contract between VIZIO on one
 6   hand, and Plaintiffs and each of the Class members on the other hand. Nonetheless, privity
 7   is not required here because Plaintiffs and each of the Class members are intended third-
 8   party beneficiaries of contracts between VIZIO and its third-party retailers, and
 9   specifically, of VIZIO’s implied warranties. The dealers were not intended to be the
10   ultimate consumers of the devices and have no rights under the warranty agreements; the
11   warranty agreements were designed for and intended to benefit the consumers only.
12                As a direct and proximate result of the breach of said warranties, Plaintiffs
13   and Class members were injured, and are entitled to damages.
14
                                          COUNT V
15                          Unjust Enrichment/Quasi Contract
16          (Pleading in the Alternative to Plaintiffs’ Warranty-Based Claims)
     (Brought on behalf of Plaintiffs Williams and Bogolyubov and the California Class
17    under California law and on behalf of Plaintiff Kavehrad and the Pennsylvania
18                             Class under Pennsylvania law)
19                Plaintiffs incorporate by reference each preceding and succeeding paragraph
20   as though fully set forth at length herein.
21                This claim is pleaded in the alternative to the other warranty-based claims
22   set forth herein should the Court deem the warranty claims unenforceable.
23                As the intended and expected result of its conscious wrongdoing, VIZIO has
24   profited and benefited from the purchase of Class Televisions with the defect.
25                VIZIO has voluntarily accepted and retained these profits and benefits, with
26   full knowledge and awareness that, as a result of VIZIO’s misconduct alleged herein,
27   Plaintiffs and the Class were not receiving devices of the quality, nature, fitness, or value
28   that had been represented by VIZIO, and that a reasonable consumer would expect.
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 1   Specifically, Plaintiffs and the Class Members expected that when they purchased their
 2   devices, they would not suffer from the Power Defect.
 3                VIZIO has been unjustly enriched by its fraudulent, deceptive, unlawful, and
 4   unfair conduct, and its withholding of benefits and unearned monies from Plaintiffs and
 5   the Class, at the expense of these parties.
 6                Equity and good conscience militate against permitting VIZIO to retain these
 7   profits and benefits.
 8                                   PRAYER FOR RELIEF
 9         WHEREFORE, Plaintiffs, individually and on behalf of members of the Class,
10   respectfully requests that the Court certify the proposed Class, designate Plaintiffs as
11   Class representatives, appoint the undersigned as Class Counsel, and enter judgment
12   through an Order:
13                A.     Temporarily and permanently enjoining VIZIO from continuing the
14   unlawful, deceptive, fraudulent, and unfair business practices alleged in this Complaint;
15                B.     Public injunctive relief in the form of notice of the existence of the
16   Power Defect to all class members and the consuming public, including through
17   corrective advertising;
18                C.     Awarding compensatory damages—including for overpayment at the
19   point of sale, out of pocket expenses to address the defect, and for lost time addressing
20   the defect—to Plaintiffs and members of the Class in an amount to be proven at trial;
21                D.     Equitable relief in the form of buyback of the devices;
22                E.     Costs, restitution, damages, including punitive damages, treble
23   damages penalties, and disgorgement in an amount to be determined at trial;
24                F.     An Order requiring VIZIO to pay both pre- and post-judgment interest
25   on any amounts awarded.
26                G.     Awarding reasonable attorneys’ fees and costs as permitted by law;
27                H.     Entering such other or further relief as the Court may deem just and
28   proper.
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 1                               JURY TRIAL DEMANDED
 2        Plaintiffs hereby demand a trial by jury for all claims so triable.
 3
 4   Dated: August 25, 2022             Respectfully submitted,
 5
                                         By:        /s/ Tina Wolfson
 6                                                     Tina Wolfson
 7
                                               Robert Ahdoot (SBN 172098)
 8                                             rahdoot@ahdootwolfson.com
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24
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26
27
28
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